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                                                              AUDIBLE, INC.
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                                                           15                        UNITED STATES DISTRICT COURT
                                                           16                       CENTRAL DISTRICT OF CALIFORNIA
                                                           17                      (WESTERN DIVISION – LOS ANGELES)
                                                           18
                                                           19 GRANT MCKEE and SETH BEALS,                 Case No.: 2:17-cv-01941 GW(Ex)
                                                              individually and on behalf of all others
                                                           20 similarly situated,                        JOINT STATEMENT OF OPEN
                                                                                                         ISSUES
                                                           21                  Plaintiffs,
                                                           22         v.
                                                           23 AUDIBLE, INC.,                              Judge:     George H. Wu
                                                                                                          Trial Date:NONE SET
                                                           24                  Defendant.
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                                                                JOINT STATEMENT OF OPEN
                                                                ISSUES                                       Case No. 2:17-cv-1941 GW(Ex)
                                                          Case 2:17-cv-01941-GW-E Document 59 Filed 12/04/17 Page 2 of 4 Page ID #:1609



                                                            1         Pursuant to the Court’s directive at the December 4, 2017 hearing on
                                                            2 Defendant’s Motion to Compel Arbitration and Motion to Transfer Venue as to
                                                            3 Plaintiff Seth Beals, the parties hereby jointly submit the statement of open issues:
                                                            4         On October 26, 2018, the Court held a hearing and issued a tentative ruling
                                                            5 on Audible’s Motion to Dismiss Claims. Based on the Court’s ruling issued at the
                                                            6 December 4, 2017 hearing which compelled Plaintiff Beals’ claims to arbitration or
                                                            7 transferred them to the Southern District of New York, Audible contends that its
                                                            8 Motion to Dismiss as to Beals is now moot.
                                                            9         Addressing Audible’s Motion to Dismiss as to Plaintiff McKee, the Court
                                                           10 tentatively ruled as follows:
                                                           11       McKee’s Fifth, Sixth, and Ninth Causes of Action would be dismissed
                                                           12         without prejudice. These are claims for violation of California’s Automatic
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                                                           13         Purchase Renewals Law (the fifth cause of action); conversion (the sixth
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                                                           14         cause of action); and restitution, unjust enrichment, and money had and
                                                           15         received (the ninth cause of action);
                                                           16       McKee’s First Cause of Action (under the Lanham Act) would be dismissed
                                                           17         with prejudice, per Plaintiff’s agreement; and
                                                           18       Audible’s motion was denied as to Plaintiff’s Second, Third, Fourth,
                                                           19         Seventh, and Eighth Causes of Action. These are claims for violation of the
                                                           20         California False Advertising Law (the second cause of action), violation of
                                                           21         federal gift card statutes (the third cause of action); violation of the California
                                                           22         Gift Certificate Law (the fourth cause of action); violation of the California
                                                           23         Consumers Legal Remedies Act (the seventh cause of action); and violation
                                                           24         of California’s Unfair Competition Law (the eighth cause of action). See
                                                           25         Dkt. 53 at 19-38.
                                                           26         At the October 26, 2017 hearing on Audible’s Motion to Dismiss, the Court
                                                           27 indicated that it might reconsider the scope of its ruling as to Plaintiff’s claim using
                                                           28 California’s Automatic Purchase Renewals Law (CAPRL) as the predicate for a
                                                               JOINT STATEMENT OF OPEN
                                                               ISSUES                               1       Case No. 2:17-cv-1941 GW(Ex)
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                                                            1 UCL claim. Specifically, the tentative ruling held that Plaintiff’s CAPRL-based
                                                            2 claim should be dismissed without prejudice because it was not adequately pleaded,
                                                            3 but that Plaintiff did have standing to assert such a claim if adequately pleaded.
                                                            4 Dkt. 53 at 28-29.
                                                            5         Audible contends that Plaintiff lacks standing to assert any claim based on
                                                            6 CAPRL because Plaintiff’s alleged injury—the expiration of membership credits at
                                                            7 the time that Plaintiff terminated his membership—has no relationship to the
                                                            8 automatically-recurring nature of Audible’s charges. As Audible noted at the
                                                            9 hearing, Plaintiff’s alleged injury—the loss of membership credits when he
                                                           10 cancelled his membership—would have been the same even if Plaintiff had
                                                           11 manually paid for membership credits on a monthly basis rather than incur
                                                           12 automatic charges. In fact, Plaintiff’s Complaint alleges that he affirmatively
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                                                           13 designated a card to be charged every month. See Motion to Dismiss (Dkt. 42) at 8-
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                                                           14 10 (citing Complaint ¶ 7).
                                                           15         Plaintiff contends that the Court’s tentative ruling is correct and that Plaintiff
                                                           16 has pleaded injury-in-fact sufficient to bring a UCL claim concerning a violation of
                                                           17 the CAPRL. See FAC ¶¶ 12, 89–91, 120 (alleging Audible’s failure to make a
                                                           18 complete disclosure of the automatic payment and cancellation terms and policies
                                                           19 caused him to make more payments that he would have, pay more each month than
                                                           20 he would have, and have credits expire).
                                                           21         Following argument on this issue at the hearing, the court said that it would
                                                           22 “take another look” at the issue of Plaintiff’s standing to bring a UCL claim based
                                                           23 on CAPRS.
                                                           24
                                                                Dated: December 4, 2017                 SODERSTROM LAW PC
                                                           25
                                                           26
                                                                                                        By: /s/ Jamin S. Soderstrom
                                                           27                                               Jamin S. Soderstrom
                                                                                                            Attorney for Plaintiff GRANT McKEE
                                                           28
                                                                JOINT STATEMENT OF OPEN
                                                                ISSUES                                     2        Case No. 2:17-cv-1941 GW(Ex)
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                                                            1 Dated: December 4, 2017                  FENWICK & WEST LLP
                                                            2
                                                            3                                          By: /s/ Jedediah Wakefield
                                                                                                           Jedediah Wakefield
                                                            4                                              Annasara G. Purcell
                                                                                                           Armen Nercessian
                                                            5
                                                                                                           Attorneys for Defendants
                                                            6                                              AUDIBLE, INC.
                                                            7
                                                            8                         ATTESTATION OF SIGNATURES
                                                            9         Pursuant to Local Civil Rule 5-4.3.4(a)(2), I hereby attest that I have
                                                           10 obtained concurrence in the filing of this document from each of the Signatories.
                                                           11
                                                           12
                                                                Dated: December 4, 2017                FENWICK & WEST LLP
F ENWICK & W EST LLP




                                                           13
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                                          MOUNTAIN VIEW




                                                           14
                                                                                                       By: /s/ Jedediah Wakefield
                                                           15                                              Jedediah Wakefield
                                                                                                           Annasara G. Purcell
                                                           16                                              Armen Nercessian
                                                           17                                          Attorneys for AUDIBLE, INC.
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                                                                JOINT STATEMENT OF OPEN
                                                                ISSUES                                    3        Case No. 2:17-cv-1941 GW(Ex)
